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                                                                   U.S. Departme nt of Justice
                                                                   Drn g enforceme nt Administr2 .t io n




                                                                        APR l 9 WU?
          Amerisou rceBergen Drug Corporatio n
          2100 Direccors Row
          Orlando, Florida 32809



                                         ORDER TO SHOW CAUSE AND
                                   IMMEDI ATE SUSPENS ION OF REGISTR ATION

                  PURSUA NT to Sections 303 and 304 of the Controlled Substance s Act, '.,:l U.S.C. §§ 82]
          and 824,

                     NOTICE is hereby given 10 inform Amerisou rceBergen Drug Corporati on ("Respond ent")
                                                                                                                        on
          of the immediat e suspensio n of Drug Enforcem ent Administr ation (D£A) Certifii;ate of Registrati
          R.i\02104 09, pursuant to 21 U.S.C.      §  824(d), because   such registratio n constitute ., an imminent
          danger w the public health and safety. DEA Certificate of Registrati on RA0210£109 is assigned
                                                                                                                      to
          Responde nt's Orlando Distributio n Center. Notice is also given         to afford Responde     nt an
                                                                                                                           ,
          opportuni ty to show cause before the DEA, at DEA Headquart ers, 600 Army Navy Drive, Arlington
                                                                                            why  DEA     should not revoke
          Virginia, on June 4, 2007 (if Responden t requesis such a hearing), as to
          itS registratio n pl.lrsuant to 2 1 V.S.C . § 824(a)(4) , and deny any pending applicati::m s for renewal or
          modificat ion of such registratio n pursuant to 21 U .S.C. § 823(e), because Responde nt's continuc:.d
          registratio n is inconsiste nt ~ith the public interest, as that term is defined by 21 U.S .C. §§ 82J(d)
                                                                                                                      on is
          and 824(a)(4) . The basis for this Order to Show Cause and lmmediate Suspensio n of Registrati
           set forth below:

                 l. Responde nt has failed to maintain effective controls against diversion of particular
           controlled substance s into other than legitimate medical , .scientific and industrial ;hannels, in
                                                                                                             2007 ,
           violation of21 U.S.C. §§ 823(b)(l) and (e)(l). From January], 2006, through fanuary 31,
                                                                                  on hydrocodo  ne  products  to
           Responde nt distributed over 3. 8 million do5age units of combinati
           customers that it knew or should h.ive known were diverting the       hydrncodo ne  im)  other than
           legitimate medical, scientific and industrial channels. Hydrocod one, in the fonnulatio n that
           Responde nt distributed , is a schedule III narcotic controlled substance that is add: ctive and widely
           abused.

                 2. Several of Responde nt's largest purchasers of hydrocodo ne in 2005 and 2006 were
                                                                                                               are
           phannacie s engaged in schemes to dispense controlled ::;ubstances based on prescriptio ns that
                                                                     by  physicians acting outside the us ual course
           iss ued for other than a legitimate medical purpose and
                                                                                                                based
           of profession al practice. These pha..rm acies distribut~d large amounts of controlled substances




                                                                                                                         17-MDL-2804

                                                                                                                    PLAINTIFFS TRIAL
                                                                                                                        EXHIBIT
                                                                                                                  P-00049_00001




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         on orders placed by customers using various lntcmct websites, Pr.ictitioncrs then "approved"
         prescriptions for controlled substances and sent them via the Internet or facsimile to the dispensing
         pharmacies. In many instances, the prescribing and/or dispensing of controlled st:bstances violated
         state bws.

               3. From January 2006 through January 2007, Respondent distributed appro:dmately 1,006,300
         dosage units of generic and brand name hydrocodone and hydrocodonc: cornbinati.on products to
         Grand Pharmacy (Grand), of New Port Richey, Florida, under circumstances that :!early indicated
         that Grand was engsged in the diversion of controlled substances.

               4. Respondem also supplied generic and brand name hydrocodone and hydrocodonc
         combination products under similarly suspicious circumstances to Discount Mail Meds, LLC,
         Medassist RX, LLC, and Avee Pharmacy, Inc., among others. Respondent distnbJtcd hydrocodone
         under the following circumstances that should have alened Respondent that the pl .arni.icies were
         diverting hydro co done:

                    a. Respondent distributed hydrocodone to each of the named pharmacies, and others, m
         amoums that far exceeded what an average pharmacy orders lO meet the lcgitimatL'. needs of its
         customers. Respondent knew rhat orders of an unusual ~ize were "suspicious" as \hat term is med in
         21 C.F.R. § 1301.74(b).

                     b. Respondent distributed hydrncodone TO each of the named pharmacies, and others,
         even though the pharm.icies ordered small amounts of other drug products relative tO the
         pharmacies' hydrocodone purchases from the Respondent. Respondent knew orders for large
         amounts of hydrocodone in combination with small amounts of other drug products deviated from
         the normal pattern of orders pl.iced by pharmacies. Respondent knew that orders that deviate
         substantially from a normal pattern were "suspicious" as tbat term is used in 21 c.:F.F.. § 1301.74(b).

                    c. Respondent distributed hydrocodonc to each of the named pharmaci1~s, and others,
         even though the pharmacies ordered hydrocodone mllch more frequenUy than Respondent's other
         pharmacy customers. Respondent knew that orders of unusual frequency were "s~spicious'' as that
         term is used in 21 C.F.R. § 1301.74(b).

                    d. Public information regarding several of Respondent's pharmacy cuslomers was
         readily available to Respondent. Had Rc.spondent attempted to learn about these pbarmacies prior     to
         filling the suspicious orders placed by the ph:u-macies. Respondent would have knr,wn that many of
         the named pharmacies were filling prescriptions that were issued by phy,~icians act',ng outside the
         usual course of professional practice in violation of 21 CF.R. § 1306.04. Specific:r::lly, the
         prescriptions filled by the pharmacies were issued by physicians who did not conduct a medical
         examination of the customers. but ml.her \1/Jote prescriptions for c:ontrolled sub~tarn:es that were
         ordered by customer~ over the Internet.

              5. On August I 0, 2005, DEA personnel met with Steve Mays. Respondent's Director of
         Regulatory Affairs, to inform him about the common characteristics of pharmacies that diven large
         amounts of controlled substances by filling. inv.11id prescriptions obtained by customers 11sing the




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          Internet_ DEA personnel reminded Respondent that, under 21 U,S.C. §§ 823(b)(l) and (c)(l).
          Respondent was responsible lo prevent the diversion of controlled substances. Nc:twithstanding Lhc
          inform:.Hion provided to Respondem, after the August 10, 2005 meeting, Respond1:ut sold over 5.2
          million dosage units of hydrocodone to pharmacies that bore the characteristics th1t DEA described
          in the August to, 2005 meeting. Respondent continuer! w sell controlled substam:e.s to Grand,
          Discoum Mail Mcds, and Medassist even though Respondent knew, or should have known, that
          these pharmacies were diverting concrolled substances into other than legitimate medical, scientific
          and industrial channels. In January 2007. Respondent sold approximately 287 ,70(1 dosage uniL~ of
          hydrocodone to Mcdassist, 184,200 dosage units lO Discount Mail Mcds, and 128.000 dosage tmits
          10 Grand. In February 2007, Respondent sold approx.irnately 196,100 dosage unit1, of hydrocodone
          to Medassisc and 172,100 dosage units to Discount Mail Meds. Re5pondcnt continues to sdl
          controlled substances to Discount Mail Meds.

                IN view of the foregoing, and pursuant to 21 U.S.C. §§ 823(b), S23(e) and 8.24(a)(4), it is my
          preliminary finding that Rcspondcut has failed to maintain cfkctive controls against diversion and
          that the continued registration of Respondent would be inconsistent with the public health and
          safety. Moreover, it is my preliminary conclusion that Respondent's continued registration while
          these proceedings arc pending would constitute an imminent danger to the public health and safety
          because of the substantial likelihood that Respondent will continue to supply pharrnacies that diven
          large quantities of controlled substances. Accordingly, pursuant to the provisions ,Jf 21 U.S.C.
          § S24(d) and 21 CTR.§ 1301.36(e), and the authority granted me under 28 C.F.R. § 0.100, DEA
          Certificate of Registration RA0210409 is hereby suspended, effective immediately; such suspension
          shall remnin in effect until a final determination is reached in these proceedings.

               PURSUANT to 21 U.S.C. § 824(f) and 21 CF.R. § 1301 .36(f), the Special /.gents and
          Diversion fnvestigators of the DEA who serve this Order to Show Cause and Irnrnediate Susprnsion
          of Registration arc authorized to place under seal and/or to remove for safekeeping all controlled
          substances that Respondt!nt possesses pursuant to its rcgistrarion, which l have herein suspended.
          The said Agents and Investigators are also directed to take imo their possession Re,pondcnt's DEA
          Cenificate of Registration and any nnuscd order forms.

                THE following procedures arc available to Respondent in this matter:

                 1. Within 30 days after the date of receipt of this Order to Show Cause and Immediate
          Suspension, Respondent may file with the Deputy Administrator of the:. DEA a wriuen request for a
          hearing in the formsetforthin21 C.F.R. § 1316.47. See21 C.F.R. § 1301.43(a). [fRcspondent
          fails to file such a request, the hearing set for June 4, 2007, sh.all be terminated in a,:cordance with
          paragraph 3, below.

                2 Within 30 days after the date of receipt of this Order to Show Cause 3nd hnmedi3.te
          Suspension of Registration, Respondent may file with the Depmy Administrator a waiver of hearing
          together with a writren statement regarding Respondent's po:;ition on the matters    or
                                                                                             fact and law
          involved. See 21 C.F.R. §l30l.43(c).

               3. Should Respondent decline to fi1e a request for a hearing or, should Re,po11dent request a




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           hearini and then fail to appear at the designated hearing, Respondent shall be deemed to have
           waived the: hearing and the Deputy Administrator may cancel such hearing, and may enter her final
           order in this matter without a hearing and based upon the investigative file and the record of this
           proceeding as it may then appear. ~~ 21 C.F.R. §§ 1301.43{d), 1301.43{e).

                Correspondence concerning this matter, including the requests referenced in paragraph l and 2
           above, should he addressed ro the Hearing Clerk, Office of Administrative La~, Judges, Drug
           Enforcement Administration, Washingto[l, D.C. 20537. Matters rue deemed filed upon receipt by
           the Bearing Clerk See 21 CFR. § 1316.




                                                            Deputy Administrator




           cc: Hearing Clerk
           Office of Administrative L'lw J udgcs




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                                             REQUEST FOR HEARING

                  Any person desiring a hearing with respect to an Order to Show Cause must, within thirty
          (3 0) days from receipt of the Order to Show Cause, file a request for a hearing ir1 the following
          format:

                                                                         [DATE]

          Hearing Clerk
          Office of the Administrative Law Judges
          Drug Enforcement Administration
          Washington, D.C. 20537

          Dear Madam:

          The undersigned, [Name of person], hereby requests a hearing in the matter of [1'.l.entification of
          1he proceeding].

                          (A) [S1ate with particularity the interest of the person in the proc(:eding.]

                          (B) [State with particularity the objections or issues, if aoy concerning which the
                              person desires to be heard.]

                          (C) [State briefly Ihe position of the person with regard to the particular
                              objections or issues.]

                          (D) [Name (either registrant, applicant, or attorney), address (inc·. uding street
                              address, city, state and zip code), and telephone number (inch.ding area
                              code) of person to whom all subsequent notices or mailings in this proceeding
                              should be sent.]

                                                                 Respectfully yours,

                                                                  (Signature of registrant,
                                                                  applicant, or attorney)

            Note: Pursuant to 21 CFR I 316.4 7(b), the Administrative Law Judge, upon reg Jest and
          · sho\1.'ing of good cause, may grant a reasonable extension of time allo\.Vlng for response to an
            Order to Show Cause.




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